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                              EXHIBIT 6
     Sept. 12, 2024 Loudoun County Electoral Board Meeting Packet
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   Chairman
Shelley Oberlander                       Loudoun County, Virginia
Vice-Chairman
  Kaysi Sanden                           Office of Elections and Voter Registration – Electoral Board
   Secretary                             750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                           703/777-0380 V/TDD ~ FAX 703/777-0622


                                                        Electoral Board
                                                       Meeting Agenda
                                              Office of Elections Training Room
                                               Thursday, September 12, 2024
                                                           1:00 P.M.

       I.            Call to Order –Chair Oberlander
       II.           Approval of Meeting Agenda
                     a. Requests for Additions/Deletions
       III.          Approval of Previous Meeting Minutes
       IV.           Public Comment
       V.            Director’s Report
                     a. Non-U.S. Citizen Voting Update
                     b. Signage Update per Executive Order #35
                     c. ADA Compliance Update
                     d. Ballot Order Update
       VI.           Deputy Director’s Report
                     a. L&A Testing Update
                     b. Emergency Preparedness Update
                     c. Election Officer Training Update
       VII.          Information Items
                     a. List Maintenance Update
                     b. November Risk-Limiting Audit Update
       VIII.         Action Items
                     a. Election Officer Appointments
                     b. Authority to Assign Non-Partisan Election Officers
       IX.           Board Comments & Disclosures
       X.            Schedule Next Meeting – (October 10, 2024 – 1:00 p.m.)
       XI.           Closed Session
                     a. Security Matters
                     b. Emergency Preparedness
       XII.          Adjourn
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   Chairman
                                         Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                       Office of Elections and Voter Registration – Electoral Board
   Secretary                             750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                           703/777-0380 V/TDD ~ FAX 703/777-0622




                                                        Electoral Board
                                                       Meeting Agenda
                                              Office of Elections Training Room
                                                  Thursday, August 15, 2024
                                                           1:00 P.M.

       I.            Call to Order – Vice-Chair Oberlander
                     a. Vice-Chair Oberlander called the meeting to order at 1:07 p.m. on August 15, 2024.
       II.           Organization of Electoral Board
                     a. Motion: Vice-Chair Oberlander appoints herself Chair and Kaysei Sanden Vice-Chair.
                        The motion was approved 2-0-0.
       III.          Approval of Meeting Agenda
                     a. Motion: Chair Oberlander moved to move public comment after action items. The motion
                        was approved 2-0-0.
                     b. Chair Oberlander moved to make edits on the agenda of meeting. The motion was
                        approved 2-0-0.
       IV.           Approval of Previous Meeting Minutes
                     a. Motion: Chairman Oberlander moved to approve the meeting minutes of the July 11,
                        2024 meeting with edits. The motion was approved 2-0-0.
       V.            Staff Reports
                     a. Director Judy Brown
                     b. Deputy Director Richard Keech
       VI.           Information Items
                     a. List Maintenance Update
                            i. Chair Oberlander motioned to turn over non-citizens with voter history for
                                investigation
                            ii. Vice-Chair Sanden moves to table motion for adequate time to research
                                process/gather information
                           iii. Chair Oberlander motioned to turn over non-citizens with voter history for
                                investigation
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   Chairman
                                        Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                      Office of Elections and Voter Registration – Electoral Board
   Secretary                            750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                          703/777-0380 V/TDD ~ FAX 703/777-0622


                                    1. Chair Oberlander requested a full report from Registrar for next meeting
                                        on non-citizens on the voter rolls with voting history.
                     b. November General Election Update
       VII.          Action Items
                     a. November Risk-Limiting Audit
                            i. Chair Oberlander motions the Loudoun County Electoral Board authorize Chair,
                               Shelley Oberlander, to send communication to the State Board of Elections and
                               the Commissioner of Elections, Susan Beals on behalf of the Electoral Board,
                               requesting they consider using the Batch-Comparison Method for the 2024
                               Statewide risk limiting audit and for the audit to be conducted using the
                               November 5, 2024 Presidential race. The motion was approved 3-0-0.
                     b. Early Voting Schedule for November General Election
                            i. Chair Oberlander motioned that the Electoral Board of Loudoun County approve
                               the early voting schedule for the November 2024 General Election as presented in
                               this item. The motion was approved 2-1-0. Chair Oberlander and Vice-Chair
                               Sanden- Aye, Secretary Heald- Nay.
                     c. November Election Ballot Order
                            i. Chair Oberlander motioned that the Electoral Board of Loudoun County approve
                               the ordering of ballots equal to a turnout of approximately 80% for the
                               Presidential Election to be held on November 5, 2024. The motion was approved
                               3-0-0.
                     d. Election Officer Appointments
                            i. Chair Oberlander motioned that the Loudoun County Electoral Board appoint the
                               236 Election Officer applicants on the list provided as Election Officers to a term
                               to expire on February 28, 2025. The motion was approved 3-0-0.
                     e. ADA Compliance Confirmation
                            i. Chair Oberlander motioned move the Loudoun County Electoral Board approve
                               the Annual ADA Compliance Confirmation form. The motion was approved 3-0-
                               0.
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   Chairman
                                       Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                     Office of Elections and Voter Registration – Electoral Board
   Secretary                           750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                         703/777-0380 V/TDD ~ FAX 703/777-0622


                            ii. Chair Oberlander motioned move the Loudoun County Electoral Board Secretary
                               sign the Annual ADA Compliance Confirmation form and provide it to the
                               General Registrar for submission no later than Thursday, August 29, 2024. The
                               motion was approved 3-0-0.
                           iii. Chair Oberlander requested that the Office of Elections adds information about
                               service dogs in Election Officer Training.
                     f. Non-U.S. Citizen Voting
                            i. Vice-Chair Sanden motioned to table this discussion until more information was
                               received from the state. The motion was approved 3-0-0.
                            ii. Chair Oberlander motioned to retroactively evaluate the voter roll. Vice-Chair
                               Sanden motioned to table discussion until more information. Chair Oberlander
                               amend the motion to table discussion and to send a letter to Commissioner Beals.
                               The motion was approved 3-0-0.
       VIII.         Public Comments
                     a. Herschel Kanter-Election Calendar
                     b. Patti Maslinoff- Early Voting
                     c. Beverly Ricci – Early Voting
                     d. Thomas Price– Early Voting
                     e. Alicia Slook – Transparency
                     f. Lara Larson – Early Voting
                     g. Amy Richards- Election Officer Appointments
                     h. Brenda Bengtson– Early Voting
                     i. Marcy Hemminger- Non- Citizen Voting
                     j. Jim Buttolph- Non- Citizen Voting
                     k. Richard Ryan- Contingency Plans
                     l. Thomas Kasperek - List Maintenance
                     m. Buta Biberaj – Early Voting
                     n. Donna Stowe-– Early Voting
                     o. John Logalbo-– Early Voting
                     p. Gail Pean- Election Calendar
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   Chairman
                                       Loudoun County, Virginia
Vice-Chairman
Shelley Oberlander                     Office of Elections and Voter Registration – Electoral Board
   Secretary                           750 Miller Drive SE, Suite 150, Leesburg, VA 20175
   Ellen Heald                         703/777-0380 V/TDD ~ FAX 703/777-0622


                     q. Jo-Ann Chase- Non- Citizen Voting
       IX.           Board Comments & Disclosures
                     a. Chairman Oberlander praises the team at the Office of Elections.
                     b. Secretary Heald welcomes Vice-Chair Sanden to the board.
       X.            Schedule Next Meeting
                     a. Chairman Oberlander moved that the next monthly meeting of the Loudoun County
                        Electoral Board be September 12th, 2024, at 1:00 p.m.
       XI.           Adjourn
                     a. The meeting was adjourned at 2:33 p.m.
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                                                                  Date of Meeting: September 12, 2024


                                                                                                    I-a
                                        ELECTORAL BOARD
                                       COUNTY OF LOUDOUN
                                        INFORMATION ITEM

 SUBJECT:       List Maintenance

 PURPOSE:       Update on list maintenance

 STAFF:         Judith Brown, Director of Elections


 BACKGROUND: Va. Code 24.2 requires certain list maintenance activities occur on a regular
 ongoing basis including the following:

        Confirmation Mailings (Annually – July)
        Felon Records (Monthly)
        Mentally Incapacitated Adjudications (Monthly)
        Non-Citizen Records (Monthly) Note: Records Populating Daily
        Death Records - (Weekly as of July 1, 2022)
        DMV License Surrender – (Monthly as of October 2023)

 In accordance with Va. Code, information for list maintenance activities is provided to the Virginia
 Department of Elections (ELECT) and that data is then transmitted to local registrars to be processed,
 including removal of names from the voter rolls for those who are deemed to be a match with the data
 being provided and the data on the voter rolls. The attached chart provides a breakdown of the number
 of individuals removed from the voter rolls during the month of August 2024.

 DMV noncitizen data is transmitted to ELECT in accordance with Va. Code §24.2-410.1 and §24.2-
 427(c). This information is sent by ELECT to general registrars in VERIS hoppers. The general
 registrar reviews those records. The following notice is sent to the registered voter.

                                   NOTICE OF INTENT TO CANCEL

 We have received information that you indicated on a recent DMV application that you are not a
 citizen of the United States. If the information provided was correct, you are not eligible to register
 to vote. If the information is incorrect and you are a citizen of the United States, please complete the
 Affirmation of Citizenship form and return it using the enclosed envelope. If you do not respond within
 14 days, you will be removed from the list of registered voters.

 If you believe this notice has been issued in error or have any questions about this notification, please
 call the Office of General Registrar.
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                                                                                     I-a – List Maintenance
                                                                                   Electoral Board Meeting
                                                                                        September 12, 2024
                                                                                                     Page 2


 If the voter provides the affirmation of citizenship form, the voter remains registered. If the voter
 does not affirm citizenship, their registration is cancelled, and a notice of cancellation is sent.



 ISSUES: Under NVRA, we are not permitted to remove someone simply because mail is returned as
 undeliverable. We will mark them for “confirmation notice”. They will be sent a notice and if they
 don’t respond, they will be changed to inactive. This is an automated process in the voter registration
 system. The voter will remain on the voter rolls as inactive for two federal elections before being
 removed. If, however, they appear to vote their record will become active. A voter who is inactive or
 marked for confirmation must complete the Affirmation of Eligibility form before being permitted to
 vote. By completing and signing the Affirmation of Eligibility form, the individual is stating they do
 still reside at the address on file.
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                                                                                                                                                                          Yearly
                          Dec-23   Jan-24        Feb-24       Mar-24      Apr-24      May-24     Jun-24     Jul-24       Aug-24      Sep-24   Oct-24   Nov-24   Dec-24     Total
Cancellations                                                                                                                                                            Cancelled

Deceased                   158        148            100         153         122         112        171        109          163                                            1078
Felony                      2               5           17        10             8         11           2       18           14                                             85
Non-Citizen                 8             13              9           7       11             7          4            3           8                                          62
Mentally Incapacitated      0               0             1           0          4           0          2            2           1                                          10
Out of State/Other          70        112               87        87          70         306        240        960          368                                            2230
Inactive Purge                                                                                                                                                              0
Total Records
Cancelled Monthly           238        278            214         257         215         436        419       1092                                                        2911

                                                                                     Registered Voters

Active Registered
Voters                    274,385 275,275 275,828 277,697 278,627 279,331 278,974 273,558 276,356
Inactive Registered
Voters                    21,563   21,375         21,284      21,007      20,864       20,708    20,607     27,081       26,300
Total Registered
Voters                    295,948 296,650 297,112 298,704 299,491 300,039 299,581 300,639 302,656
Net Increase/Decrease
Total Registered Voters
                           971      702           462         1,592        787         548       -458       1,058        2,017                                             6708



New Voters                 919      959           542         1,691        971         885        344       1,988        2,137                                             9517
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                                                          Date of Meeting: September 12, 2024


                                                                                           I-b
                                    ELECTORAL BOARD
                                   COUNTY OF LOUDOUN
                                    INFORMATION ITEM

 SUBJECT:      November Risk-Limiting Audit

 PURPOSE:      Update on November Risk-Limiting Audit

 STAFF:        Shelley Oberlander, Chair


 BACKGROUND: The Loudoun County Electoral Board voted to request the State Board of
 Elections consider the use of the Batch Comparison Method Audit and to consider an audit of the
 United States Senate race following the November 2024 election.

 The State Board of Elections met on Tuesday, September 3, 2024 to determine the type of audit to
 be used when auditing the statutorily required United States House of Representatives race
 following the November election and to decide if they want to conduct a state-wide audit of the
 United States Senate race and if so, the audit method to used.

 The State Board of Elections voted to use the Batch Comparison Method for the audit of the United
 States House of Representatives. All 11 congressional districts are eligible this year for audit,
 provided that the margin of the contest does not fall below 1%. One contest will be chosen at
 random during the November 18 State Board of Elections meeting.

 The State Board of Elections voted to conduct a statewide audit of the United States Senate race
 using the Ballot Polling Method. The last statewide RLA was conducted in 2021 of the U.S. Senate
 and Presidential contests.
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                                                    [Insert Item Number and Title of Item]
                                                                 [Insert Name of Meeting]
                                                                      [Month XX, XXXX]
                                                                                   Page 2
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                                                            Date of Meeting: September 12, 2024


                                                                                           A-a
                                     ELECTORAL BOARD
                                    COUNTY OF LOUDOUN
                                       ACTION ITEM

 SUBJECT:       Appointment of Election Officers

 CRITICAL ACTION DATE: None

 PURPOSE: Seek Electoral Board Approval of Additional Election Officers

 STAFF:         Judith Brown, Director of Elections



 BACKGROUND: Each month staff presents names of citizens that have applied to become
 election officers for Loudoun County. Those wishing to represent a party are sent to the respective
 party for approval. By approving election officers now, they will have an opportunity to sign up
 for a training session that better fits their schedule

 The October Electoral Board meeting will be the last opportunity for approving election officers
 to serve in the November 2024 election.

 All election officers currently in our database will continue to serve until their term expires on
 February 28, 2025. In January 2025 both parties will submit the names of election officers they
 wish to have appointed or reappointed to a new term by the Electoral Board.


 ISSUES: None.

 DRAFT MOTIONS:

    1. I move that the Loudoun County Electoral Board appoint the XXX Election Officer
       applicants on the list provided as Election Officers to a term to expire on February 28,
       2025.

        OR

    2. I move an alternate motion.

 ATTACHMENTS:

    1. List of Election Officer applicants
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          First Name           Last Name   Home Precinct         Party
   1 Matthew           Adjei                     119       D - Democratic
   2 Anaum             Ahmad                     822       D - Democratic
   3 Adnan             Al Ghazzouli              120       D - Democratic
   4 Elizabeth         Alfsen                    710       D - Democratic
   5 Ranveer           Ambati                    313       D - Democratic
   6 Tyler             Andress                   505       D - Democratic
   7 Tine              Beam                      501       D - Democratic
   8 Anne              Bowen                     210       D - Democratic
   9 Jill              Bran                      319       D - Democratic
  10 Joanne            Brooks                Fairfax Co.   D - Democratic
  11 Brandon           Brown                     823       D - Democratic
  12 Aaron             Brown                     823       D - Democratic
  13 Laura             Brumsey                   701       D - Democratic
  14 William           Carter                    221       D - Democratic
  15 Victoria          Chevalier                 630       D - Democratic
  16 Sherry            Cupac                     621       D - Democratic
  17 Elizabeth         Dears                     512       D - Democratic
  18 Wilton            Dickerson                 501       D - Democratic
  19 Mariam            Ebrahimi                  512       D - Democratic
  20 John              Eubanks                   220       D - Democratic
  21 Christine         Favreaux                  820       D - Democratic
  22 Rose              Fernandez Eubanks         220       D - Democratic
  23 Jan               Fruiterman                512       D - Democratic
  24 Edwin             Gallahan                  504       D - Democratic
  25 Kayla             Giuliani                  309       D - Democratic
  26 Gregory           Goin                      321       D - Democratic
  27 Chloe             Goldbach                  209       D - Democratic
  28 David             Goldberg                  210       D - Democratic
  29 Sarah             Goodwin                   622       D - Democratic
  30 Karen             Grant                     121       D - Democratic
  31 Jessica           Haas                      207       D - Democratic
  32 Allen             Hamblin                   427       D - Democratic
  33 Michael           Hardey                    425       D - Democratic
  34 Roynda            Hartsfield-Nack           214       D - Democratic
  35 Gerald            Harvey Jr                 512       D - Democratic
  36 Stephen           Heinz                     326       D - Democratic
  37 Erin              Henning                   321       D - Democratic
  38 Shirley           Heying                    219       D - Democratic
  39 Mary              Homer                     622       D - Democratic
  40 Shani             Hosten                    217       D - Democratic
  41 Cuong             Huynh                     220       D - Democratic
  42 Nancy             Iarossi                   402       D - Democratic
  43 Frank             Iarossi                   402       D - Democratic
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  44 Alice           Jacobson                   328      D - Democratic
  45 Danielle        Johnson                    126      D - Democratic
  46 Tammy           Jones                      112      D - Democratic
  47 Julia           Kasdorf                    402      D - Democratic
  48 Sandra          Kereluk                    215      D - Democratic
  49 Lauren          Lang                       402      D - Democratic
  50 Brian           Lewis                      714      D - Democratic
  51 Kaitlin         Lozinski                   411      D - Democratic
  52 Ita             Mandel                     702      D - Democratic
  53 Gloria          Martin                     622      D - Democratic
  54 Sandra          McBride                    416      D - Democratic
  55 Janet           Mccormick                  815      D - Democratic
  56 Camilla         MGhee                      325      D - Democratic
  57 Mbonisi         Mzamo                      713      D - Democratic
  58 Terrica         Neal-Smith                 326      D - Democratic
  59 Wendi           Owens                      208      D - Democratic
  60 Jonathan        Owens                      208      D - Democratic
  61 Rutherford      Poats                      426      D - Democratic
  62 Bobbie          Price II                   701      D - Democratic
  63 Mia             Puccio                     819      D - Democratic
  64 Tony            Radfar                     808      D - Democratic
  65 Bishara         Rahman                     409      D - Democratic
  66 Paola (Noemi)   Reyes Cruz                 215      D - Democratic
  67 Vanessa         Richardson                 627      D - Democratic
  68 Gail            Robinson                   210      D - Democratic
  69 Robert          Roncace                    621      D - Democratic
  70 Elizabeth       Ross                       319      D - Democratic
  71 Andrew          Ross                       119      D - Democratic
  72 Ann             Rutland                    508      D - Democratic
  73 Venkateswara    Sattiraju                  107      D - Democratic
  74 Janice          Saylor                     627      D - Democratic
  75 Robin           Shear                      325      D - Democratic
  76 Liane           Simpson                    615      D - Democratic
  77 Prisha          Singh                      124      D - Democratic
  78 Susan           Spence                     209      D - Democratic
  79 Susan           Spruill                    216      D - Democratic
  80 Usha            Srivatsan                  814      D - Democratic
  81 William         Stalcup                    817      D - Democratic
  82 Kim             Stinger                    402      D - Democratic
  83 Kerry           Sullivan                   815      D - Democratic
  84 James           Taylor                     107      D - Democratic
  85 Kanan           Thaker                     621      D - Democratic
  86 Kimberly        Thomas                     218      D - Democratic
  87 Henry           Tolbert                    702      D - Democratic
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  88 Christopher        Tully                     216         D - Democratic
  89 Susan              Tully                     216         D - Democratic
  90 Cynthia            Vough                     325         D - Democratic
  91 Courtney           Wayland                   416         D - Democratic
  92 Elizabeth          White                     307         D - Democratic
  93 Hubert             Wyllie                    823         D - Democratic
           First Name             Last Name   Home Precinct          Party
   1 Christine          Adkins                    428         R - Republican
   2 Tallal             Afzal                     108         R - Republican
   3 Catherine          Alifrangis                822         R - Republican
   4 Matthew            Archer                    411         R - Republican
   5 James              Arter                     416         R - Republican
   6 Emmeline           Arthur                    416         R - Republican
   7 Laila              Bober                     623         R - Republican
   8 Stephen            Bozzo                     510         R - Republican
   9 Joseph             Bradford                  504         R - Republican
  10 Todd               Brazas                    402         R - Republican
  11 Dennis             Brouwer                   426         R - Republican
  12 Melissa            Brown                     326         R - Republican
  13 Kristina           Bullock                   511         R - Republican
  14 Laurie             Bush                      216         R - Republican
  15 Shamonique         Chacon                    314         R - Republican
  16 Sharon             Christenson               512         R - Republican
  17 Becky              Christian                 314         R - Republican
  18 Mital              Christian                 511         R - Republican
  19 Cliff              Clary                     710         R - Republican
  20 Elizabeth          Courts                    308         R - Republican
  21 Sheila             Cowling                   413         R - Republican
  22 Julie              Curry                     815         R - Republican
  23 Ethan              Dahlby                    328         R - Republican
  24 Ngoc               Dang                      314         R - Republican
  25 Torre              Daniell                   409         R - Republican
  26 Ralph              Davis                     209         R - Republican
  27 Ross               Deem                      413         R - Republican
  28 Tauna              Delmonico                 409         R - Republican
  29 Patricia           DeSouza                   623         R - Republican
  30 Christopher        Dieken                    427         R - Republican
  31 David              Doby                      511         R - Republican
  32 Stephanie          Downer                    120         R - Republican
  33 William            Downer Jr                 120         R - Republican
  34 Robert             Drosdzal                  815         R - Republican
  35 John               Dubia                     512         R - Republican
  36 Edward             Ellis                     810         R - Republican
  37 Diane              Fairgrieve                409         R - Republican
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  38 Charles          Faust                      430       R - Republican
  39 James            Fishenden                  627       R - Republican
  40 Victor           Flores                     509       R - Republican
  41 Jennifer         Fox                        409       R - Republican
  42 Tony             Gallardo                   820       R - Republican
  43 Nestor           Gotay Umana                512       R - Republican
  44 Steven           Hall                       401       R - Republican
  45 Donna            Hartford                   504       R - Republican
  46 Elliot           Hartford JR                504       R - Republican
  47 Edward           Hauschild                  403       R - Republican
  48 Donna            Hoffman                    504       R - Republican
  49 Charlotte        Holland                    817       R - Republican
  50 James            Huber                      503       R - Republican
  51 Kimberly         Hurst                      308       R - Republican
  52 Deborah          James                      424       R - Republican
  53 Mark             Johnston                   503       R - Republican
  54 Douglas          Jones                      409       R - Republican
  55 Solomon          Kanamala                   119       R - Republican
  56 Jerome           Kasper                     626       R - Republican
  57 Mark             Kastilahn                  621       R - Republican
  58 Weelfried        Kawaya                     126       R - Republican
  59 Andrew           Keeter                     820       R - Republican
  60 John             Keppeler                   326       R - Republican
  61 Amira            Khater                     319       R - Republican
  62 Timothy          Lasher                     401       R - Republican
  63 Gail             Lataille                   427       R - Republican
  64 Equilla          Lavine                     312       R - Republican
  65 William (Bill)   Leake                      501       R - Republican
  66 Daniel           Letson                     505       R - Republican
  67 Grace            Liang                      126       R - Republican
  68 Stephen          Limbert                    326       R - Republican
  69 Barbara          Lowe                       512       R - Republican
  70 Shinta           Mariana                Fairfax Co.   R - Republican
  71 Andrea           Masters                    511       R - Republican
  72 Danny (Dan)      Matzker                    416       R - Republican
  73 Alfred           Mbia                       508       R - Republican
  74 Robert           McCurdy                    503       R - Republican
  75 Kelly            McKnight                   510       R - Republican
  76 George           Merrell                    817       R - Republican
  77 Tracy            Miller                     401       R - Republican
  78 Ryan             Mooney                     616       R - Republican
  79 Richard          Moore                      620       R - Republican
  80 Mavis            Morris                     815       R - Republican
  81 Marianne         Mount                      403       R - Republican
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  82 Kevin             Mulhern                   428         R - Republican
  83 Donna             Mullen                    401         R - Republican
  84 Adam              Newland                   509         R - Republican
  85 Johan             Perez Medina              712         R - Republican
  86 Susanh            Perez-Molina              712         R - Republican
  87 Elizabeth         Rasiak                    504         R - Republican
  88 Colleen           Regotti                   120         R - Republican
  89 Nona              Reynolds                  411         R - Republican
  90 Kevin             Reynolds                  411         R - Republican
  91 Elia              Ryan                      705         R - Republican
  92 Hannah            Serruya                   814         R - Republican
  93 Julie             Shaheen                   814         R - Republican
  94 Daniel            Shain                     424         R - Republican
  95 Cynthia           Smith                     507         R - Republican
  96 Dina              Smithson                  423         R - Republican
  97 Richard           Stibi                     221         R - Republican
  98 Carolyn           Strain                    326         R - Republican
  99 Connie            Street-Jager              403         R - Republican
 100 Blake             Stroud                    503         R - Republican
 101 Nicole            Stverak                   814         R - Republican
 102 David             Suddoth                   312         R - Republican
 103 Afshan            Talib                     808         R - Republican
 104 Barbara           Tatum                     815         R - Republican
 105 Olga              Terekhina                 628         R - Republican
 106 LoriAnn           Waters                    216         R - Republican
 107 Jeffrey           Weaver                    616         R - Republican
 108 Joan              West                      504         R - Republican
 109 Joan              Wilson                    508         R - Republican
 110 Robert            Wright                    505         R - Republican
 111 Barbara           Yudd                      402         R - Republican
          First Name             Last Name   Home Precinct          Party
   1 Ravi              Achar                     505         N - Non-Partisan
   2 Adnan             Al Ghazzouli              120         N - Non-Partisan
   3 James             Arter                     416         N - Non-Partisan
   4 Jeffery           Barrows                   621         N - Non-Partisan
   5 Stephanie         Bidinger                  501         N - Non-Partisan
   6 David             Bills                     502         N - Non-Partisan
   7 Elizabeth         Carroll                   430         N - Non-Partisan
   8 Carey             Cypher                    509         N - Non-Partisan
   9 Holly             Dhankhar                  622         N - Non-Partisan
  10 Robert            Di Trolio                 217         N - Non-Partisan
  11 Michele           Donovan                   815         N - Non-Partisan
  12 William           Forys                     416         N - Non-Partisan
  13 Star              Francis                   324         N - Non-Partisan
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  14 Heather       Fruzzetti                    314      N - Non-Partisan
  15 Jennifer      Gustavus                     823      N - Non-Partisan
  16 Reynold       Guzman                       716      N - Non-Partisan
  17 Allen         Hamblin                      427      N - Non-Partisan
  18 Mary          Henderson                    502      N - Non-Partisan
  19 Bennet        Humpton                      217      N - Non-Partisan
  20 Catalina      Johnson                      319      N - Non-Partisan
  21 Brian         Jordan                       313      N - Non-Partisan
  22 Laura         Kibble                       409      N - Non-Partisan
  23 Joan          Lamarre                      505      N - Non-Partisan
  24 Claudia       Lewis                        615      N - Non-Partisan
  25 Varinder      Mago                         505      N - Non-Partisan
  26 Joshua        McCullough                   423      N - Non-Partisan
  27 Joshua        Meek                         628      N - Non-Partisan
  28 Jamie         Munizza                      813      N - Non-Partisan
  29 Jorge         Neyra Vigo                   710      N - Non-Partisan
  30 Jaja          O'Neil SR                    112      N - Non-Partisan
  31 Robert        Ohneiser                     402      N - Non-Partisan
  32 Jae           Park                         107      N - Non-Partisan
  33 Valerie       Rivera-Sorto                 627      N - Non-Partisan
  34 Jeffrey       Seggi                        329      N - Non-Partisan
  35 Christopher   Stanley                      817      N - Non-Partisan
  36 Suzette       Stone Busa                   509      N - Non-Partisan
  37 Konah         Terry                        508      N - Non-Partisan
  38 Mirela        Tsai                         319      N - Non-Partisan
  39 Amanda        Warrington                   427      N - Non-Partisan
  40 Frederick     Webb                         702      N - Non-Partisan
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                                                             Date of Meeting: September 12, 2024


                                                                                            A-b
                                     ELECTORAL BOARD
                                    COUNTY OF LOUDOUN
                                       ACTION ITEM

 SUBJECT: Authorization to Assign Non-Partisan Election Officers

 CRITICAL ACTION DATE: September 12, 2024

 PURPOSE: Seek approval from the board to place non-partisan election officers in accordance
 with the Election Officer Assignment Plan

 STAFF: Margie Grimes, Election Coordinator

 RECOMMENDATIONS: Staff: Authorize the Election Coordinator to begin assigning non-
 partisan election officers when partisan election officers are not available.


 BACKGROUND: The Electoral Board approved an Election Officer Assignment Plan that
 indicates no later than 50 days prior to the election the Election Coordinator shall seek approval to
 begin assigning non-partisan election officers when partisan election officers are not available.
 Va. Code §24.2-115 allows no more than one-third of the total number of officers appointed for
 each precinct to be citizens who do not represent any political party if practicable.

 ISSUES: Delay in communicating with non-partisan election officers does not afford them an
 opportunity to sign up for training classes that best fit their schedule. It is imperative for us to
 have additional election officers to fill vacancies that may occur as we approach the election when
 election officers begin to call out, fail to take the required training, or simply do not show up on
 Election Day. Some non-partisan election officers are Help Desk or Technology certified and are
 needed to ensure we have certified election officers in each precinct to ensure uniform procedures
 are being followed across the Commonwealth.

 DRAFT MOTIONS:

 1. I move that the Electoral Board authorize the Election Coordinator to begin assigning any non-
    partisan election officers in accordance with Va. Code §24.2-115 when partisan election
    officers are not available and/or a Help Desk or Technology certified election officer is needed,
    if they hold such certification.

 OR

 2. I move and alternate motion.
